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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                            SAN JOSE DIVISION
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                                  12     MAXIMILIAN KLEIN, et al.                         Case No. 20-CV-08570-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiffs,                        ORDER GRANTING MOTION TO
                                                                                          RELATE
                                  14             v.
                                                                                          Re: Dkt. No. 131
                                  15     FACEBOOK, INC.,
                                  16                   Defendant.

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                                              The Court GRANTS Facebook’s motion to relate Loveland v. Facebook, Inc., No. 21-CV-
                                  18
                                  19   03300-CRB (N.D. Cal. filed May 4, 2021), to the above captioned case, ECF No. 131. The Court

                                  20   consolidates Loveland v. Facebook with the above captioned case.

                                  21   IT IS SO ORDERED.
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                                       Dated: August 26, 2021
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                                                                                     ______________________________________
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                                                                                     LUCY H. KOH
                                  25                                                 United States District Judge

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                                       Case No. 20-CV-08570-LHK
                                       ORDER GRANTING MOTION TO RELATE
